Case 3:23-cv-22130-MCR-ZCB   Document 155-9   Filed 03/14/25   Page 1 of 5




             Exhibit 8
             Case 3:23-cv-22130-MCR-ZCB                     Document 155-9              Filed 03/14/25   Page 2 of 5

                                                                                                                  EXHIBIT
Watnick, David (POR)
                                                                                                                       3
From:                  Horan, Catherine (SEA)
Sent:                  Thursday, January 16, 2025 11:21 AM
To:                    Watnick, David (POR)
Subject:               FW: Transcript Request


Hi Dave,

Please see the response below from the Felician registrar.


Catherine Horan
SENIOR RESEARCH LIBRARIAN

My Regular Hours: 8:30am‐5:00pm PT, M‐F
*Library Hours: 6am PT – 6pm PT M – Th and 6am PT – 5pm PT F

Perkins Coie
1201 Third Avenue Suite 4900
Seattle, WA 98101-3099
+1.206.359.3474
choran@perkinscoie.com
perkinscoie.com

From: Registrar <Registrar@felician.edu>
Sent: Thursday, January 16, 2025 11:18 AM
To: Horan, Catherine (SEA) <CHoran@perkinscoie.com>
Subject: RE: Transcript Request

Hello Catherine,

After multiple attempts to find this file, we have not been able to locate this students transcript.

I apologize for the inconvenience.

Thank you,

Lauren Venechanos

From: Horan, Catherine (Perkins Coie) <CHoran@perkinscoie.com>
Sent: Friday, January 3, 2025 5:05 PM
To: Registrar <Registrar@felician.edu>
Cc: Horan, Catherine (Perkins Coie) <CHoran@perkinscoie.com>
Subject: FW: Transcript Request

   You don't often get email from choran@perkinscoie.com. Learn why this is important

Hi Lauren,


                                                                     1
             Case 3:23-cv-22130-MCR-ZCB              Document 155-9      Filed 03/14/25      Page 3 of 5

Checking back to see if you can confirm Mark Lanterman’s in your database before we submit the request.

Thank you.

Catherine Horan
SENIOR RESEARCH LIBRARIAN

My Regular Hours: 8:30am‐5:00pm PT, M‐F
*Library Hours: 6am PT – 6pm PT M – Th and 6am PT – 5pm PT F

Perkins Coie
1201 Third Avenue Suite 4900
Seattle, WA 98101-3099
+1.206.359.3474
choran@perkinscoie.com
perkinscoie.com

From: Horan, Catherine (SEA) <CHoran@perkinscoie.com>
Sent: Tuesday, December 17, 2024 8:39 AM
To: Registrar <Registrar@felician.edu>
Subject: RE: Transcript Request

Hi Lauren,

Can you confirm he’s in your database before we submit the request?

Thank you,

Catherine Horan
SENIOR RESEARCH LIBRARIAN

Regular Hours: 8:30am‐5:00pm PT, M‐F

Perkins Coie
1201 Third Avenue Suite 4900
Seattle, WA 98101-3099
+1.206.359.3474
choran@perkinscoie.com
perkinscoie.com

From: Registrar <Registrar@felician.edu>
Sent: Monday, December 16, 2024 11:55 AM
To: Horan, Catherine (SEA) <CHoran@perkinscoie.com>
Subject: RE: Transcript Request

Hi Catherine,

Unfortunately, we cannot release any information for Upsala students except through postal mail.

Please see the information below on how to request these transcripts.

        Send written requests to:

                                                               2
           Case 3:23-cv-22130-MCR-ZCB                   Document 155-9           Filed 03/14/25   Page 4 of 5
        UPSALA TRANSCRIPTS
        C/O Felician University – Office of the Registrar
        262 South Main Street
        Lodi, NJ 07644
        Written request must include:
              Approximate dates of attendance
              Date of birth
              Full SSN
              Returned self-addressed stamped envelope
              $10 certified bank check or money order ONLY (personal checks and company checks are not
                 accepted and any request with them will be returned back to the sender)
              Please allow 2-week processing time.
https://felician.edu/academics/office-of-the-registrar/upsala-transcripts/

Thank you,
Lauren Venechanos



From: Horan, Catherine (Perkins Coie) <CHoran@perkinscoie.com>
Sent: Monday, December 16, 2024 1:16 PM
To: Registrar <Registrar@felician.edu>
Cc: Horan, Catherine (Perkins Coie) <CHoran@perkinscoie.com>
Subject: Transcript Request

   You don't often get email from choran@perkinscoie.com. Learn why this is important

                                                    **EXTERNAL EMAIL**
Hello,

I need confirma on that Mark Lanterman has a bachelor’s degree and masters’ degree from Upsala College ‐ B.S.
Computer Science; M.S. Computer Science. I don’t know the dates.

Please let me know if you have any ques ons.

Thank you,

Catherine Horan
SENIOR RESEARCH LIBRARIAN

Regular Hours: 8:30am‐5:00pm PT, M‐F

Perkins Coie
1201 Third Avenue Suite 4900
Seattle, WA 98101-3099
+1.206.359.3474
choran@perkinscoie.com
perkinscoie.com




NOTICE: This communication from Perkins Coie LLP may contain privileged or other confidential information. If you have

                                                                3
          Case 3:23-cv-22130-MCR-ZCB               Document 155-9         Filed 03/14/25       Page 5 of 5
received it in error, please advise the sender by reply email and immediately delete the message and any attachments
without copying or disclosing the contents. Thank you.




NOTICE: This communication from Perkins Coie LLP may contain privileged or other confidential information. If you have
received it in error, please advise the sender by reply email and immediately delete the message and any attachments
without copying or disclosing the contents. Thank you.




                                                           4
